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                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

    K.MIZRA LLC,

    Plaintiff,                           Civil Action No. 2:21-cv-305-JRG

    v.                                   JURY TRIAL DEMANDED

    HEWLETT PACKARD ENTERPRISE
    COMPANY and ARUBA NETWORKS,
    LLC,

    Defendants.



          DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF
       K.MIZRA LLC’S MOTION FOR PARTIAL SUMMARY JUDGMENT
     ON OBVIOUSNESS BASED ON THE 700WL PRODUCT LITERATURE IN
   COMBINATION WITH OTHER KNOWN REFERENCES PURSUANT TO THE IPR
                        ESTOPPEL DOCTRINE
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        K.Mizra’s second attempt1 to dismiss HPE’s 35 U.S.C. § 103 defense fares no better than

 the first – it still relies upon overturned case law and ignores the relevant facts. The critical facts

 remain the same. For the ’705 patent, HPE filed only a “copy-cat” IPR petition identical in scope

 to the Cisco IPR and contemporaneously filed a Joinder Motion. The PTAB instituted Cisco’s IPR

 on a single prior art combination and granted HPE’s Joinder Motion. As a result, any estoppel is

 limited to the single combination on which the PTAB instituted the Cisco IPR, as the Federal

 Circuit held in Network-1 Techs., Inc. v. Hewlett-Packard Co., 981 F.3d 1015, 1027 (Fed. Cir.

 2020). For the ’048 patent, the PTAB denied HPE’s IPR petition, did not issue a final written

 decision, and therefore no estoppel applies. See 35 U.S.C. § 315(e)(2). Applying the appropriate

 law to the relevant facts, HPE would at most be estopped at trial in this action from arguing

 obviousness against the ’705 patent asserted claims based on the prior art combination on which

 the PTAB instituted IPR on the ’705 patent (i.e., the Gleichauf (U.S. Patent No. 9,436,820), Ovadia

 (U.S. Patent No. 7,747,862), and Lewis (U.S. Patent No. 7,533,407) obviousness combination).

 But HPE is not asserting that obviousness combination at trial. K.Mizra’s attempt to inflate

 estoppel beyond this restriction is contrary to governing law and invites error.

 I.      RESPONSE TO STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

         HPE disputes K.Mizra’s statement of issues and offers the following instead:

        1. Whether the Court should deny K.Mizra’s motion because HPE, a joinder petitioner,
           is at most estopped at trial in this action from arguing obviousness against the ’705
           patent asserted claims based on the prior-art combination on which the PTAB instituted
           IPR on the ’705 patent?

        2. Whether the Court should deny K.Mizra’s motion because HPE is not estopped at trial
           in this action from arguing obviousness against the ’048 patent asserted claims?




  1
   K.Mizra withdrew its Original Estoppel Motion [Dkt. No. 189] following HPE’s prior art narrowing.
  See Dkt. No. 189 and 308.


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        3. Whether the Court should deny K.Mizra’s motion because there is a genuine issue of
           material fact the jury should consider regarding whether the ’705 and ’048 patent
           asserted claims are invalid under 35 U.S.C. § 103?

 II.    RESPONSE TO K.MIZRA’S STATEMENT OF UNDISPUTED FACTS

        1.      In the first paragraph of K.Mizra’s Statement of Undisputed Material Facts, HPE

 disputes that it “essentially incorporated its ’705 Patent IPR into its ’048 Patent IPR Petition.”

 HPE does not dispute the remainder of the first paragraph.

        2.      HPE disputes the facts stated in the second paragraph of K.Mizra’s Statement of

 Undisputed Material Facts. In particular, HPE disputes K.Mizra’s assertion that the PTAB’s “final

 written decision [held] no claims of the ’705 Patent unpatentable,” but instead found that

 “Petitioner has not shown, by a preponderance of the evidence, that claims 1-3, 5-13, and 15-19 of

 the ’705 patent are unpatentable.” See Dkt. 309-6, Ex. E, Final Written Decision in IPR2021-00593

 at 2. HPE also disputes K.Mizra’s assertion or suggestion that the PTAB denied institution of

 HPE’s ’048 Patent IPR Petition based on findings that the ’048 Patent and ’705 Patent are “closely

 related” or that their claims are “materially the same.”

        3.      In the third paragraph of K.Mizra’s Statement of Undisputed Material Facts, HPE

 disputes that “the 700wl Product is fully and only relevantly described in printed publications that

 were publicly available prior to the filing of HPE’s IPR petitions and it is only those written

 publications upon which Dr. Jones relies in rendering his obviousness opinions,” and that “information

 learned through the inspection, if any, was not relied upon by Dr. Jones in reaching his obviousness

 conclusions.” HPE does not dispute the remainder of the third paragraph.

 III.   LEGAL STANDARD

        “Summary judgment may be granted if the moving party shows there is no genuine issue

 of material fact, and it is entitled to judgment as a matter of law.” Murray v. Earle, 405 F.3d 278,

 284 (5th Cir. 2005). A dispute about a material fact is “genuine” when the evidence is “such that


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 a reasonable jury could return a verdict for the nonmoving party.” See Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242, 248 (1986). Courts must “construe all facts and inferences in the light most

 favorable to the nonmoving party” when considering whether to grant summary judgment.

 Murray, 405 F.3d at 284. “The burden of proof falls upon the party seeking the summary judgment

 and all reasonable doubts as to the existence of a genuine issue of material fact are to be resolved

 against the moving party.” Erco Industries, Ltd. v. Seaboard C. L. R. Co., 644 F.2d 424, 428 (5th

 Cir. 1981).

        35 U.S.C. § 315 states that the PTAB Director “may join as a party to” a previously filed

 IPR “any person who properly files a petition under section 311.” A joining petitioner “cannot

 bring with it grounds other than those already instituted [and therefore] … is not statutorily

 estopped from raising other invalidity grounds” in a litigation. Network-1, 981 F.3d at 1027.

 “[R]eliance on § 315(e)(2) to estop grounds that reasonably could have been raised [by a joining

 petitioner] is in error in light of the Federal Circuit precedent regarding § 315(c).” Netlist, Inc. v.

 Micron Tech., Inc., No. 2:22-CV-203-JRG-RSP, 2024 WL 402181, at *2 (E.D. Tex. Jan. 10, 2024),

 report and recommendation adopted, No. 2:22-CV-203-JRG-RSP, 2024 WL 387787 (E.D. Tex.

 Jan. 31, 2024) (citing Network-1, 981 F.3d at 1027).

         “In general, IPR estoppel does not apply to device art, because ‘a petitioner cannot use an

 IPR to challenge the validity of a patent claim … based on prior art products or systems.’”

 IOENGINE, LLC v. PayPal Holdings, Inc., 607 F. Supp. 3d 464, 511 (D. Del. 2022) (quoting

 Medline Indus., Inc. v. C.R. Bard, Inc., No. 17 C 7216, 2020 WL 5512132, at *3 (N.D. Ill. Sept.

 14, 2020). There is a split among district courts, however, as to whether IPR estoppel extends to

 device art that is entirely cumulative of prior art in the form of patents or printed publications that

 were or could have been raised in an IPR. Judge Bryson (sitting by designation in the District of




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 Delaware) recently endorsed the view of § 315(e)(2) that as a matter of statutory interpretation,

 estoppel applies only to “grounds”—i.e., “specific pieces of prior art that are the basis or bases on

 which a petitioner challenges a claim.” Prolitec Inc. v. Scentair Techs., LLC, No. 1:20-cv-00984,

 Dkt. No. 240 at 50 (D. Del. Dec. 13, 2023) (citing Chemours Co. FC, LLC v. Daikin Indus., Ltd.,

 No. 17-1612, 2022 WL 2643517, at *1 (D. Del. July 8, 2022) (holding same). Accordingly, Judge

 Bryson found that because product art cannot be used in an IPR “ground,” estoppel does not

 preclude the challenger from asserting such art in district court, holding that “IPR estoppel does

 not apply to device art, even when that art is cumulative of patents and printed publications that

 were or could have been asserted in a prior IPR. Id.

 IV.     ARGUMENT

         A.     HPE, A Party Joined to the ’705 Patent IPR Proceeding, is Subject to Limited
                Estoppel.

        It is undisputed that HPE was a party joined as a petitioner to Cisco’s IPR proceedings

 regarding the ’705 patent in which Cisco was the lead petitioner. See Mot. at 3. In order to join

 Cisco’s IPR proceedings, HPE could not present new issues in its IPR petitions that HPE sought

 be joined to the Cisco IPR proceeding because “[t]he clear and unambiguous text of § 315(c) [the

 statute authorizing IPR joinder] … does not authorize the joinder of new issues,” “such as new

 claims or new grounds.” Facebook, Inc. v. Windy City Innovations, LLC, 973 F.3d 1321, 1332-33

 (Fed. Cir. 2020). As such, HPE’s IPR petition for the ’705 patent was limited to only grounds that

 the Board correctly found were “identical to Cisco’s petition in the Cisco IPR.” See Ex. 1, Decision

 Granting Petitioner’s Motion for Joinder. The Board granted HPE’s Motion for Joinder, set the

 joined proceeding on Cisco’s existing IPR schedule, and held that HPE was joined in a significantly

 limited role. Id.




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        Because a joined party is limited in the grounds it can advance and limited to an understudy

 role, the Federal Circuit has held that IPR estoppel is narrower for a joined party like HPE in this

 case. Specifically, the Federal Circuit held that:

                [A]ccording to the statute [35 U.S.C. § 315(e)(2) that governs IPR
                estoppel], a party is only estopped from challenging claims in the
                final written decision based on grounds that it “raised or reasonably
                could have raised” during the IPR. Because a joining party cannot
                bring with it grounds other than those already instituted, that party
                is not statutorily estopped from raising other invalidity grounds.

 Network-1 Techs., 981 F.3d at 1027 (emphasis added). As this Court recognized earlier this year,

 “the Federal Circuit rulings regarding joinder estoppel act to lop off the ‘or reasonably could have

 raised’ aspects of § 315(e)(2).” Netlist, 2024 WL 402181, at *2.

        Under the controlling authority, the only IPR estoppel for the ’705 Patent applicable to

 HPE, a joined party, is limited to estoppel of the identical invalidity ground on which the Cisco

 IPR was instituted (i.e., the Gleichauf, Ovadia, and Lewis obviousness combination). HPE is not

 presenting this obviousness combination to the jury. As such, there is no estoppel because the

 obviousness grounds in Dr. Jones’ report are not the same as the instituted invalidity ground in the

 Cisco ’705 Patent IPR to which HPE was joined. In its motion, K.Mizra never argued—nor can it

 argue—that HPE’s remaining obviousness grounds are identical.

          Further, contrary to K.Mizra’s argument, the Federal Circuit did not limit the holding in

  Network-1 to only parties that are “time barred” from filing an IPR petition. Instead, the holding

  applies to all parties joined under Section 315(c). Indeed, this Court squarely rejected an identical

  argument in Netlist v. Micron, which HPE cited in its response to the Original Estoppel Motion

  and K.Mizra continues to ignore. See Netlist, 2024 WL 402181, at *2 (citing Network-1, 981

  F.3d at 1027). In Netlist, Samsung was the original petitioner and “Micron filed a ‘copy-cat’ IPR

  Petition identical in scope to a prior petition filed by Samsung … together with a Motion for



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  Joinder.” Id. at Dkt. No. 423. Netlist moved for summary judgment on IPR estoppel and made

  the same arguments K.Mizra makes here:

                 Micron merely argues that because its petitions were joined to
                 Samsung’s, estoppel is limited to grounds actually raised. The Court
                 need not reach this argument because all of Micron’s grounds are
                 actually raised in the IPRs. But in any event, the Federal Circuit did
                 not hold in Network-1 Techs., Inc. v. Hewlett-Packard Co., 981 F.3d
                 1015, 1027 (Fed. Cir. 2020) that estoppel is limited any time there
                 is a joinder. Rather, in Network-1 the joined party (HP) was “time-
                 barred” from filing its own petition, and the only way it could
                 participate in the IPR was to file a request for joinder limited to the
                 same grounds. Id. at 1027. Here, Micron was not time-barred and
                 does not dispute that it could have raised any grounds it wished in
                 its petition. Further, Micron does not dispute that the Board
                 instituted Micron’s own IPR petitions, and that Micron is before the
                 Board as a petitioner and thus subject to complete estoppel in its
                 own right.

 Id. at Dkt. No. 372. This Court rejected the arguments in Netlist and should reject them again here.

 See Netlist, 2024 WL 402181, at *2 (“[R]eliance on § 315 (e)(2) to estop grounds that reasonably

 could have been raised [by a joining petitioner] is in error in light of the Federal Circuit precedent

 regarding § 315(c).” ). K.Mizra admits that: (1) HPE is a joining party to the Cisco IPR; and (2)

 the only ground on which the PTAB instituted that IPR is the Gleichauf-Ovadia-Lewis obviousness

 combination. Therefore, under Network-1, HPE is not statutorily estopped from raising other

 invalidity grounds at trial.

         K.Mizra also misrepresents to this Court that HPE agreed to be bound by original petitioner

 IPR estoppel. (Mot. at 6.) HPE never agreed to be bound by petitioner estoppel. See, e.g., Dkt.

 No. 29. If the contrary were true, K.Mizra presumably would have pointed the Court to a material

 fact demonstrating this purported fact rather than relying upon attorney argument only. See Mot.

 at 6. Moreover, mCom IP, an opinion considering whether or not the court should stay an action

 pending resolution of an IPR, has no bearing on K.Mizra’s motion. Again, as a joining party, only

 limited estoppel applies to HPE’s invalidity defenses against the’705 patent.


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         B.      No Estoppel Arises From HPE’s Denied ’048 Patent IPR Petition.

         Once again, K.Mizra’s motion, intentionally or otherwise, ignores the law related to

 estoppel for a denied IPR petition. K.Mizra quotes Section 315(e)(2) (see Mot. at 5), but ignores

 that it ascribes estoppel to an IPR petitioner if the petition “results in a final written decision under

 section 318(a) … .” 35 U.S.C. § 315(e)(2). Section 318(a) requires the PTAB to issue a final

 written decision “[i]f an inter partes review is instituted and not dismissed under this chapter … .”

 35 U.S.C. § 318(a). “The estoppel provisions of 35 U.S.C. § 315(e)(2) do not apply to a denial of

 an inter partes review.” Precision Fabrics Group, Inc. v. Tietex Int’l, Ltd., No. 1:13-CV-645, 2016

 WL 6839394, at *9 (M.D.N.C. Nov. 21, 2016). Because HPE’s ’048 patent IPR petition was

 denied without a final written decision, HPE is not estopped from asserting at trial any obviousness

 grounds related to the ’048 patent. See Ex. 2, Decision Denying Institution of Inter Partes Review

 of IPR2022-00843.

         K.Mizra hangs its hat on Papst Licensing GMBH & Co. v. Samsung Elecs. Am., Inc., 924

 F.3d 1243, 1252–53 (Fed. Cir. 2019) to argue that some variation of issue preclusion, rather than

 IPR-based preclusion, should override the clear and unambiguous statutory language of Section

 315(e)(2). See Motion at 5-6. Papst does not stand for, nor does it mention, IPR estoppel related

 to prior art that may be asserted in a district court trial. Instead, Papst addresses issue preclusion

 in view of an attempt to challenge the PTAB’s prior claim construction for a materially identical

 claim limitation. Papst, 924 F.3d 1252-53. Papst is simply inapposite. K.Mizra’s attempt to

 redefine IPR estoppel to include decisions denying institution finds no support in the statute or

 controlling case law. The law is clear—no estoppel arises from HPE’s denied ’048 Patent IPR

 Petition.




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           C.      Device Art is Not Subject to IPR Estoppel.

           The Federal Circuit’s controlling Network-1 opinion and 35 U.S.C. § 315(e)(2) complete

 the estoppel analysis in this case.          K.Mizra, however, asks the Court to preclude HPE’s

 obviousness combinations including the HP ProCurve Secure Access 700wl Series product (the

 “700wl Product”) via a lengthy, unnecessary argument regarding the “reasonably could have been

 raised” and “skilled searcher” standards based on inapposite case law.

           The 700wl Product is system/device art2 relied upon in the present case (not in the IPR) by

 HPE’s invalidity expert Dr. Jones for his obviousness analysis. See Ex. 3, Jones Supplemental

 Expert Report Sections ¶¶ 3, 9, 11, 30; Ex. 4, Jones Second Supplemental Expert Report; Ex. 5,

 May 17, 2024 Depo. of Dr. Jones at 17:10-21:1; 54:25-55:21. K.Mizra’s Motion completely

 ignores Dr. Jones’ reliance upon (1) a physical sample of a 720wl unit labeled with Bates number

 HPE-PHYS-0001, (2) inspecting physical samples of the 700wl Product, and (3) testimony from

 Mr. Ken Haggard, a retired HPE engineer who worked on the 700wl Product and will testify at

 trial regarding the 700wl Product. Compare id. and Mot. at 8-9. Dr. Jones’ opinions are not

 exclusively based upon printed materials that could have been raised in an IPR, rather he relies

 upon the actual 700wl Product (including an analysis of the code3), witness testimony from an

 engineer that worked on the product, and corroborating documents detailing the 700wl Product

 functionality.

           As such, and because HPE was a joinder petitioner, K.Mizra’s citation to Gen. Access is

 misplaced. In Gen. Access, Judge Schroeder analyzed the application of estoppel to system prior

 art that is “just disguised patents and printed publications that it could have asserted in [an] IPR.”

 Gen. Access Sols., Ltd. v. Sprint Spectrum L.P., No. 2:20-cv-00007-RWS, 2020 WL 12572917, at


 2
     See IOENGINE, 607 F. Supp. 3d at 511 (finding that in general IPR estoppel does not apply to device art).
 3
     See Ex. 3 at 30; Ex. 5 at 54:25-55:21.


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 *3 (E.D. Tex. Dec. 1, 2020). The Court ultimately did not preclude the defendant from presenting

 its invalidity defense based on the system art, but the foundation of Judge Schroeder’s opinion that

 “[w]hen a party asserts a prior art system and relies exclusively on printed subject matter that it

 could have raised in IPR, it is not asserting a system at all” does not apply here. Id. at *3-4

 (emphasis added). This analysis relates to original petitioners. K.Mizra’s quotes and reliance upon

 Click-To-Call, Ironburg, Innovative Memory, and Trustid all suffer the same flaw—the defendants

 were original petitioners.4 As a joining petitioner, HPE could not bring with it grounds other than

 those already instituted in Cisco’s IPR. See Network-1 Techs., 981 F.3d at 1027. Thus, K.Mizra’s

 “reasonably could have been raised” and “skilled searcher” arguments are inapplicable, and HPE

 is not statutorily estopped from raising other invalidity grounds, including the 700wl Product.

          Second, Judge Bryson recently addressed this estoppel argument related to products which

 are also described in patents or printed publications in Prolitec and found that as a matter of

 statutory interpretation, estoppel applies only to “specific pieces of prior art that are the basis or

 bases on which a petitioner challenges a claim.” See Ex. 6, Prolitec Opinion. As part of the

 analysis, Judge Bryson considered the split among district courts concerning this issue. Like

 K.Mizra’s argument regarding the 700wl Product and the related literature describing the product

 functionality, in Prolitec, the plaintiff argued the defendant was estopped from asserting the prior

 art product (ScentDirect) because the product was “materially identical” to a patent, which could




 4
  Click-To-Call Techs. LP v. Ingenio, Inc., 45 F.4th 1363, 1366 (Fed. Cir. 2022) (“[Defendant] filed a
 petition for IPR challenging the sixteen asserted claims and one additional claim”); Ironburg Inventions
 Ltd. v. Valve Corp., 64 F.4th 1274, 1283 (Fed. Cir. 2023)(“[Defendant] then filed a petition with the United
 States Patent and Trademark Office (“PTO”), which partially instituted an IPR”); Innovative Memory Sys.,
 Inc. v. Micron Tech., Inc., No. CV 14-1480-RGA, 2022 WL 4548644, at *3 (D. Del. Sept. 29, 2022)
 (“Micron was the petitioner in an IPR involving the ’498 patent.”); Trustid, Inc. v. Next Caller Inc., No. 18-
 172 (MN), 2021 WL 3015280, at *1 (D. Del. July 6, 2021) (defendant was the petitioner); see also
 TRUSTID, Inc. v. Next Caller, Inc., No. 2020-1950, 2021 WL 4427918, at *1 (Fed. Cir. Sept. 27, 2021)
 (“Next Caller petitioned for inter partes review (“IPR”) of all of the claims of the ’985 patent.”).


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 have been raised in the IPR challenge. Prolitec, No. 1:20-cv-00984, Dkt. No. 240 at 48. Following

 a lengthy analysis, the court found that because product art cannot be used in an IPR “ground,”

 estoppel does not preclude the challenger from asserting such art in district court, holding that

 “IPR estoppel does not apply to device art, even when that art is cumulative of patents and printed

 publications that were or could have been asserted in a prior IPR. Id. Judge Bryson reasoned this

 holding is “consistent with the way the term “grounds” has been used by the Federal Circuit in the

 IPR context—to mean a legal argument based on a specific combination of references.” Id. at 51.

 Following this reasoning, IPR estoppel does not apply to the 700wl Product.

           D.      HPE’s Obviousness Defense Presents a Genuine Issue of Material Fact that
                   the Jury Is Entitled to Consider.

           K.Mizra’s Motion fails to identify a basis for granting summary judgment.5 See Tinnus

 Enterprises, LLC v. Telebrands Corp., No. 6:16-CV-00033-RWS, 2017 WL 8727624, at *2 (E.D.

 Tex. Aug. 11, 2017), report and recommendation adopted, No. 6:16-CV-00033-RWS, 2017 WL

 8727628 (E.D. Tex. Sept. 14, 2017) (finding that the “moving party must identify the basis for

 granting summary judgment and . . . either produce evidence negating an essential element of the

 nonmoving party’s claim or defense or show that the nonmoving party does not have enough

 evidence of an essential element to carry its ultimate burden). Here, summary judgment is not

 proper because the question of obviousness presents, at a minimum, secondary fact finding that

 the jury should determine. See W. Union Co. v. MoneyGram Payment Sys., Inc., 626 F.3d 1361,

 1369 (Fed. Cir. 2010) (“Obviousness is a question of law based on underlying findings of fact.”).

 Dr. Jones provides expert opinions that the following prior art combinations, including motivations

 to combine, render the asserted claims of the ’705 and ’048 patents obvious:



  5
      K.Mizra again cites estoppel law unrelated to a joinder petition or a denied IPR petition.



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               700wl Product + Ball6 + Lewis7
               700wl Product + Ball + Danforth8

 See Ex. 3, Jones Supplemental Expert Report. K.Mizra has not challenged Dr. Jones’ opinions via

 a Daubert nor motion to strike, but has disclosed competing expert opinions [see Ex. 7, Expert

 Report of Dr. Eric Cole in Response to Supplemental Expert Reports of Dr. Mark Jones]. Whether

 the teachings of the ’705 and ’048 patents would have been obvious to a person of ordinary skill

 in the art is a material factual dispute between the parties that precludes summary judgment. Given

 the posture of this motion and the material disputes that remain, it would be improper for the Court

 to weigh in on the fact finding to resolve this dispute.

 V.     CONCLUSION

        For the foregoing reasons, the Court should deny K.Mizra’s Motion for Partial Summary

 on Obviousness Based on the 700wl Product Literature in Combination with Other Known

 References Pursuant to the IPR Estoppel Doctrine.




  6
    U.S. Patent Publication No. 2006/0005009
  7
    U.S. Patent No. 7,533,407.
  8
    U.S. Patent No. 7,571,460.


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  Dated: June 20, 2024             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
         I hereby certify that, on June 20, 2024, a copy of the foregoing document was filed
 electronically in compliance with Local Rule CV-5(a), and all counsel of record are being served
 with a copy of this document via email.


                                             /s/ Joshua R. Thane
                                             Joshua R. Thane




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